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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                 Plaintiff,                          )
10                                                     )
            v.                                         ) 2:12-CR-166-KJD-(PAL)
11                                                     )
     DAO DUC DINH,                                     )
12                                                     )
                   Defendant.                          )
13

14                              PRELIMINARY ORDER OF FORFEITURE
15          This Court finds that on May 20, 2013, defendant DAO DUC DINH pled guilty to Count
16 One of a Four-Count Criminal Indictment charging him with Conspiracy to Distribute Controlled

17 Substances, in violation of Title 21, United States Code, Sections 841(a)(1) and 846. Criminal

18 Indictment, ECF No. 7; Change of Plea Minutes, ECF No. 42; Plea Agreement, ECF No. 43.
19          This Court finds defendant DAO DUC DINH agreed to the forfeiture of the property set forth
20 in the Forfeiture Allegations of the Criminal Indictment and the Plea Agreement. Criminal

21 Indictment, ECF No. 7; Change of Plea Minutes, ECF No. 42; Plea Agreement, ECF No. 43.

22          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
23 America has shown the requisite nexus between property set forth in the Forfeiture Allegations of

24 the Criminal Indictment, the Plea Agreement, and the offenses to which defendant DAO DUC DINH

25 pled guilty. Criminal Indictment, ECF No. 7; Change of Plea Minutes, ECF No. 42; Plea Agreement,
26 ECF No. 43.




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 1          The following assets are subject to forfeiture pursuant to Title 21, United States Code,

 2 Section 853(a)(1) and (2); and Title 21, United States Code, Section 853(p):

 3                  1.    $13,500.00 in United States Currency; and

 4                  2.    an in personam criminal forfeiture money judgment of $6,140.00 in United

 5                        States Currency (“property”).

 6          This Court finds the United States of America is now entitled to, and should, reduce the

 7 aforementioned property to the possession of the United States of America.

 8          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 9 United States of America should seize the aforementioned property.

10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

11 DAO DUC DINH in the aforementioned property is forfeited and is vested in the United States of

12 America and shall be safely held by the United States of America until further order of the Court.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

14 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

15 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

16 the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

17 the name and contact information for the government attorney to be served with the petition,

18 pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

20 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

22 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

23 following address at the time of filing:

24 . . .

25 . . .
26 . . .

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 1                  Michael A. Humphreys
                    Assistant United States Attorney
 2
                    Daniel D. Hollingsworth
 3                  Assistant United States Attorney
                    Lloyd D. George United States Courthouse
 4                  333 Las Vegas Boulevard South, Suite 5000
                    Las Vegas, Nevada 89101
 5
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 6
     need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 7
     following publication of notice of seizure and intent to administratively forfeit the above-described
 8
     property.
 9
            DATED this ______
                        5th   day of __________________,
                                      June               2013.
10

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12                                                          __________________________________
                                                            UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE

 2         I, Michelle C. Lewis, Paralegal Specialist, certify that the following individuals were served

 3 with copies of the Preliminary Order of Forfeiture on June 4, 2013, by the below identified method

 4 of service:

 5         CM/ECF:
 6         William C. Carrico
 7         Federal Public Defender
           411 E. Bonneville, Ste. 250
 8         Las Vegas, NV 89101
           Email: william_carrico@fd.org
 9         Attorney for Dao Duc Dinh
10         Craig W. Drummond
11         Craig W. Drummond, P.C.
           228 S. Fourth Street, First Floor
12         Las Vegas, NV 89101
           Email: craig@drummondfirm.com
13         Attorney for David Kim
14

15                                                        /s/Michelle C. Lewis
                                                          Michelle C. Lewis
16                                                        Paralegal Specialist

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